
PER CURIAM:
Treating the petition for rehearing en banc as a petition for panel rehearing, the petition for panel rehearing is DENIED, but the panel substitutes the attached opinion modified only as to Part IV. The court having been polled on the attached substituted opinion at the request of one of its members, and a majority of the judges who are in regular active service and not disqualified not having voted in favor (Fed. R. App. P. 35 and 5th Cir. R. 35), the petition for rehearing en banc is DENIED.
In the en banc poll, 3 judges voted in favor of rehearing (Judges Dennis, Elrod and Graves), and 12 judges voted against rehearing (Chief Judge Stewart and Judges Jolly, Davis, Jones, Smith, Clement, Prado, Owen, Southwiek, Haynes, Higginson and Costa).
